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            EXHIBIT 3
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                           SUPERIOR COURT OF CALIFORNIA
                               COUNTY OF SAN FRANCISCO

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                                             ORDER




                DEWAYNE JOHNSON VS. MONSANTO COMPANY ET AL




                                         001C06341189




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 6                                     COUNTY OF SAN FRANCISCO

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 8
      DEWAYNE JOHNSON, ET AL.                           Case No. CGC-16-550128
 9
                         Plaintiffs,                    ORDER ON (1) MONSANTO’S
10
                                                        OMNIBUS SARGON MOTION; (2)
      vs.                                               MONSANTO’S MOTION FOR
11
                                                        SUMMARY JUDGMENT; (3)
      MONSANTO COMPANY, ET AL.                          PLAINTIFF’S OMNIBUS SARGON
12
                                                        MOTION; (4) PLAINTIFF’S MOTION
                         Defendants.                    FOR SUMMARY ADJUDICATION
13
14
            Plaintiff Dewayne Johnson brought this products liability action against Monsanto
15
     alleging he contracted non-Hodgkin lymphoma (NHL) as a result of his exposure to glyphosate,
16
     which is contained in Monsanto’s herbicides such as Roundup®. Complaint           74-75. Five
17
18   motions are presently before me: (1) Monsanto’s Motion to Exclude Johnson’s Experts; (2)

19   Monsanto’s Motion for Summary Judgment or Summary Adjudication; (3) Johnson’s Motion to
20   Exclude Improper Opinions of Monsanto’s Experts; (4) Johnson’s Motion for Summary
21
     Adjudication; and (5) Johnson’s Motion for Judicial Notice.
22
            I heard argument May 10,2018.
23
     I.     Requests for Judicial Notice and Evidentiary Issues
24

25          These rulings apply only to the motions decided in this order, and not to the trial.

26
27



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 1                    Monsanto’s Motion for Summary Judgment or Summary
 2                    Adjudication

 3           Monsanto requests judicial notice of 18 exhibits, all of which are either EPA decisions or

 4   publications, records in the Federal Register, Congressional testimony, or publications of the
 5   California EPA. Monsanto RJN, 1-3. These unopposed requests are granted. E.C. §§ 451(b),
 6
     452(c), 452(h).
 7
             Monsanto objected to Exhibits 1, 7, 9-40 on hearsay grounds.1 Monsanto Objections, 2-
 8
     9. However, many of the exhibits are offered to show Monsanto’s state of mind, acts, or
 9

10   conduct. For these purposes, the hearsay objection is overruled. E.C. § 1250. The Exhibits that

11   are admissible for those purposes and are considered here are Exs. 11-12,14,19,21,22,24,25.

12           Monsanto objected to Exhibit 6 and excerpts from Dr. Benbrook’s testimony on the basis
13   that his expert testimony is inadmissible. Monsanto Objections, 2,5, 8-9. The objection is
14
     sustained only to the extent this Order grants the motion to exclude Dr. Benbrook’s testimony.
15
             Monsanto also objects to Johnson’s original and amended separate statements—the latter
16
     filed after Monsanto had submitted its reply with a new section setting forth additional material
17

18   facts. Monsanto Objections, 4-9; Monsanto Objection to Amended Separate Statement, 1-3. A

19   deficient separate statement generally may be corrected. Rush v. White Corp., 13 Cal.App.5th

20   1086,1100 (2017). In that spirit, I consider the amended separate statement.
21
             Monsanto asks me to strike, in whole or in part, Johnson’s oversized opposition brief. I
22
     consider the impermissibly oversized brief as a late-filed paper, C.R.C. 3.1113(g), which is to
23
     say I may reject it. Rancho Mirage Country Club Homeowners Assn. v. Hazelbaker, 2
24

25   Cal.App.5th 252,262 (2016) (citing C.R.C. 3.1300(d)). I rebuke Johnson’s counsel, but I am

26

27   i
      While Monsanto also asserts foundation and personal knowledge objections, those objections are based on the
     ground that the declarant cannot attest to facts sufficient to establish a hearsay exception.


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 1   imwilling to impose the draconian penalty on his client of refusing to consider the brief because
 2
     it was five pages too long.
 3
            Johnson’s Motion for Summary Adjudication
 4
            Monsanto submitted eighteen objections to Johnson’s evidence. Monsanto’s Objections
 5
 6   m 1-18. None is material to the resolution of the motion.

 7          Monsanto requests judicial notice of 10 exhibits, all of which are government documents

 8   available on the EPA website or in the Federal Register. Monsanto RJN, 2-3. These unopposed
 9   requests for judicial notice are granted. E.C. §§ 451(b), 452(c).
10
            Ip reply, Johnson requests judicial notice of five exhibits, all of which are posted online
11
     by government entities. Johnson RJN, 1-3. These unopposed requests forjudicial notice are
12
     granted, but the truth of the disputable factual representations in the documents - such as the
13
14   factual representations in the glyphosate fact sheet - are not noticed. E.C. §§ 452(c), (h).

15          Johnson’s Motion for Judicial Notice

16          Johnson moves forjudicial notice of the fact that the Office of Environmental Health
17
     Hazard Assessment (OEHHA) added glyphosate to the Proposition 65 list and of a brief OEHHA
18
     submitted defending the decision in which the OEHHA explained that it was relying on IARC.
19
     The ostensible purpose of this request forjudicial notice is to bolster Johnson’s experts to the
20
21   extent they, like the state of California, give weight to IARC’s determination that glyphosate is a

22   probable carcinogen. I will under E.C. § 452(c) take judicial notice of these matters for the

23   purposes of the present motions, but not for purposes of trial.
24

25

26
27



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                                                          ''1


 1   II.    Motions to Exclude Experts
 2
             1.     The Reliability of Expert Opinion based on Peer Review Studies.
 3
            I make some preliminary observations concerning attacks on expert opinion based on the
 4
     purported inadequacy of the studies relied on by the experts. This particularly applies to much of
 5
 6   Monsanto’s motions, because Monsanto argues that the studies relied on by Johnson’s experts

 7   were shown by other studies (including subsequent studies), or by other experts, to be lacking.

 8   E.g., Motion at 2:8 ff; 3:8 ff; 4:8 ff; 7:1 (touting the NCI 2018 as the “best” study); 18:11 ff;
 9   20:13. Johnson implicitly makes similar arguments when he says that Monsanto’s experts failed
10
     to adhere to studies or guidelines issued by IARC, Motion at 7, and when Johnson accuses the
11
     defense experts of relying on some but not other studies. E.g., id. at 8:12 ff.; Reply at 8.
12
            At argument, plaintiff’s counsel took the position that except for undescribed extreme
13
14   situations, courts in a Sargon hearing must accept expert testimony founded on peer review

15   studies, essentially pretermitting my review of the validity of the studies underpinning plaintifFs

16   experts’ opinions. Plaintiff relies primarily relied on Cooper v. Takeda Pharmaceuticals
17
     America, Inc., 239 Cal.App.4th 555, 592 (2015). One may ask whether Cooper really forecloses
18
     a court’s investigation into the validity of peer review studies; the opinion does lend itself to that
19
     reading, chastising—and reversing—the trial judge because he
20
21          did engage in settling a scientific controversv when it looked piecemeal at a large bodv of
            epidemiological studies before finding the expert's opinion based on those studies wholly
22          lacking in foundation, when it engaged in an analysis of whether studies reporting
            secondary endpoints were inherently unreliable, and when it disregarded other studies
23          because it found the methodology, which was fully explained to the scientific community
            in peer-reviewed journals, to be misleading.
24   Cooper, 239 Cal.App.4th at 592.
25
              The flaws identified by the trial judge in Cooper were not for him in the Sargon hearing:
26
     they were to be explored with the jury. Cooper, 239 Cal.App.4th at 593. See also, e.g.. United
27



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 1   States v. Malone, 828 F.3d 331, 337 (5th Cir. 2016) (“The studies relied upon by Dr. Trecki
 2
     undoubtedly meet this bar. There is no dispute that these studies were conducted by professional
 3
     scientists using established methods and many were subjected to peer review. This is more than
 4
     enough to qualify them as ‘reasonably reliable.^”) (emphasis supplied).
 5
 6            Cooper and Malone bar the trial judge’s resolution of a scientific controversy, but this

 7   begs the question of what counts as a valid scientific controversy. Not every issue is
                                                                                                        o
 8   scientifically debatable: there are, for example, peer review studies in astrology, but presumably
 9   no court would accept those as creating a pertinent controversy. Not every peer reviewed study
10
     is valid science.
11
              While published peer review studies are not a prerequisite for expert opinion,4 when they
12
     are used, they surely cannot by reason of their publication status literally be immune from attack,
13
14   even in the Sargon setting. Even if it is not true that most research finding are unreliable,5 it is

15
     2 While I cite federal cases in this Sargon context, it still remains unclear whether state courts should exercise their
16   gate-keeping function as rigorously as federal courts under Daubert. E.g., David L. Faigman et al., “Wading into the
     Daubert Tide: Sargon Enterprises, Inc. v. University of Southern California,” 64 Hastings L.J. 1665,1687 (2013)
17   (the authors were also the authors of the Loyola Law Review item relied on by Sargon).
     3 http://www.astrology.co.uk/tests/studies.htm (“These statistically significant results have been published in peer
18   reviewed journals (including Correlation, a specialist astrological journal)”); Ken McRitchie, “The Good Science of
     Astrology: Separating Effects from Artifacts,” April 2011 (“This article has been peer reviewed by subject matter
19   experts refereed through the published’), http://www.theoryofastrology.com/effects/ISAR-April-2011-Joumal-
     KM.pdf. (The question of course, is who the “peers” are for these articles.)
20   4 Summit 6, LLC v. Samsung Electronics Co., Ltd., 802 F.3d 1283, 1298 (Fed. Cir. 2015) (““[pjublication... is not
     a sine qua non of admissibility,” and “in some instances well-grounded but innovative theories will not have been
21   published,”) (quoting Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579, 593); US. v. Carlson, 810 F.3d 544,
     553(8th Cir. 2016), citing Russell v. Whirlpool Corp., 702 F.3d 450,458 (8th Cir. 2012).
22   5 John P. A. loannidis, “Why Most Published Research Findings Are False,” PLoS Med (August 2005)
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMCl 182327/ (from the Summary: “a research finding is less likely to
23   be true when the studies conducted in a field are smaller; when effect sizes are smaller; when there is a greater
     number and lesser preselection of tested relationships; where there is greater flexibility in designs, definitions,
24   outcomes, and analytical modes; when there is greater financial and other interest and prejudice; and when more
     teams are involved in a scientific field in chase of statistical significance. Simulations show that for most study
25   designs and settings, it is more likely for a research claim to be false than true. Moreover, for many current scientific
     fields, claimed research findings may often be simply accurate measures of the prevailing bias.”); Paul E. Smaldino,
26   “The natural selection of bad science,” Royal Society Open Science (21 Sept. 2016) available at
     http://rsos.royalsocietypublishing.Org/content/3/9/160384 (“Many prominent researchers believe that as much as
27   half of the scientific literature—not only in medicine, by also in psychology and other fields—may be wrong. Fatal
     errors and retractions, especially of prominent publications, are increasing. The report that emerged from this


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 1   clear that many peer review studies are infected by “innocent, yet sloppy, error in the
 2
     methodology of the experiment that the authors themselves caught,”6 outright misconduct,7 bias
 3
     and conflicts of interest,8 and scams.9 Given these issues and the number of retracted papers,10
 4
     some commentators understandably contend the process is deeply flawed,11 although it may be
 5
     better than alternatives.12 So if at a Sargon hearing a peer reviewed study were shown to be
 6

 7   based on falsified data, presumably the court would not allow it, or an opinion based on it, to be

 8   presented to the jury.
 9            But it remains unclear under California law whether studies can be rejected for other
10
     reason such as irreproducibility or p-hacking (cherry picking data until the results are
11
12

13
     symposium echoes the slogan of one anonymous attendee: ‘Poor methods get results.’ Persistent problems with
14   scientific conduct have more to do with incentives than with pure misunderstandings. So fixing them has more to do
     with removing incentives that reward poor research methods than with issuing more guidelines.... This paper argues
15   that some of the most powerful incentives in contemporary science actively encourage, reward and propagate poor
     research methods and abuse of statistical procedures.”) (notes omitted).
16   6 Christopher Wanjek, “Lies, Mistakes & More: These Scientific Papers Got Nixed in 2017,” LiveScience (Dec, 27,
     2017) https://www.livescience.com/61275-scientific-retractions-2017.html
17   7 Id. (Wanjek)
     8
        E.g., William L. Anderson et. al., “Daubert's Backwash: Litigation-Generated Science” 34 U. MICH. J.L. Reform
18   619, 644 & n. 147 (2001); Ned Miltenberg, “Myths About ’Neutral' Scientific Experts,” Trial (January 2000) at 62,
     64 (noting “ethical lapses, in violation of peer review conflict-of-interest rules, plague the most renowned journals,
19   not just the second-rate ones”).
     9 Adam Marcus, “Phony peer review: The more we look, the more we find,” STATNews: APRIL 28,2017,
20   https://www.statnews.com/2017/04/28/phony-peer-review/ (noting retractions of papers); Sneha Kulkami, “What
     causes peer review scams and how can they be prevented?” Wiley Online Library
21   https://www.editage.cn/insights/sites/default/files/What%20causes%20peer%20review%20scams%20and%20how%
     20can%20they%20be%20prevented.pdf; Cat Ferguson, et al., “The Peer-Review Scam” 515 Nature 480 (27 Nov
22   2014) (scams, retracted articles), https://www.nature.com/news/publishing-the-peer-review-scam-l.16400
     10 Christie Aschwanden, “Science isn’t Broken” https://fivethirtyeight.eom/features/science-isnt-broken/#part3
23   11 Stuart Macdonald, “Emperor’s New Clothes: The Reinvention of Peer Review as Myth,” Journal ofManagement
     Inquiry (2014) (“vast literature has accumulated, the general tenor of which is that peer review is deeply flawed,
24   capable of much improvement in all manner of ways, but better than the alternatives.”
     https://www.researchgate.net/profile/Stuart_Macdonald5/publication/277886859_Emperor%27s_New_Clothes/links
25   /5989cel7a6fdcc75626383b6/Emperors-New-Clothes.pdf. For a list of articles and other resources noting issues
     with peer review, see e.g., notes under “Reporting bias & related issues (peer reviews)” in Curtis Kamow, “Experts,
26   Statistics, Science & Bad Science,” https://works.bepress.com/curtis_kamow/26/
     12 Stuart Macdonald, op cit.; Mark Ware, “Peer review in scholarly journals: Perspective of the scholarly community
27   -Results from an international study,” 28 Information Services & Use (2008) 109-112
     http://citeseerx.ist.psu.edu/viewdoc/download7doH10.1.1.453.7782&rep=repl&type=pdf#page=36


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 1   “statistically significant”13) or sloppy work, primarily because state law has not developed a
 2
     robust sense of what counts as “scientific” and what therefore is beyond that pale and so should
 3
     not be seen by a jury. Even federal courts under the Daubert standard have admitted testimony
 4
     that “did not flow naturally from disinterested research, [where the ] methodology was not
 5
 6   subject to peer review or publication, and [where the] theory had no known rate of error,”

 7   because “these objections go to the weight of [the] testimony, not to its admissibility.” US. v.

 8   Carlson 810 F.3d 544, 553 (8th Cir. 2016), citing Russell v. Whirlpool Corp. 702 F.3d 450,458
 9   (8th Cir. 2012).
10
             The net result is that, at least in California courts, expert opinion actually founded on peer
11
     review studies, most especially when the credentials of the expert are unassailable, may be very
12
     difficult to exclude. This is so, as in Cooper, even when the studies have patent flaws, because
13

14   those can be the subject of cross examination. Cooper, 239 Cal. App. 4th at 593. Experts are

15   allowed to look a variety of inconsistent studies and decide—as experts—what the net effect is

16   from that review. Cooper, 239 Cal. App. 4th at 589-90. See also Wendell v. GlaxoSmithKline
17
     LLC, 858 F.3d 1227,1233 (9th Cir. 2017). The point may be that judges in Sargon hearings are
18
     not evaluating peer review studies as such, but rather the expert opinion (which may be founded
19
     on those studies). The standards for the two are not exactly the same.14
20
21

22

23
24

25   13 Christie Aschwanden, “Statisticians Found One Thing They Can Agree On: It’s Time To Stop Misusing P-
     Values,” FiveThirtyEight (March 7,2016 ) http://fivethirtyeight.com/features/statisticians-found-one-thing-they-can-
26   agree-on-its-time-to-stop-misusing-p-values/; https://www.methodspace.com/primer-p-hacking/. A wonderful
     cartoon perfectly illustrates p-hacking: https://www.explainxkcd.eom/wiki/index.php/882:_Significant
27   14 An opinion which could not meet peer review standards may be good enough for a jury. Wendell v.
     GlaxoSmithKline LLC, 858 F.3d 1227,1235-36 (9th Cir. 2017).


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 1           2.       Monsanto’s Motion
 2
                               a.      General Causation
 3
             Monsanto seeks an order prohibiting Drs. Aaron Blair, Chadi Nabhan, Alfred Neugut,
 4
     Christopher Fortier, Beate Ritz, Matthew Ross, and Dennis Weisenburger from testifying at trial
 5
 6   regarding any opinion that glyphosate can cause any type of NHL in humans. Monsanto

 7   Proposed Order, 1. Monsanto separates the general causation issues into four categories: (1)

 8   Epidemiology; (2) Toxicology; (3) Genotoxicity/Mechanism; and (4) Applicability of the
 9   Bradford Hill criteria.
10
                                       i.      Epidemiology
11
             Monsanto argues that all opinions of Drs. Ritz and Neugut and the epidemiology portions
12
     of the opinions of Drs. Weisenburger, Nabhan, Fortier, Benbrook, and Sawyer should be
13

14   excluded because: (1) Johnson’s experts agree that the epidemiology does not establish a causal

15   relationship; (2) Attacks on the Agricultural Health Study (AHS) (2018) do not provide a basis

16   for affirmative claims made by Johnson’s experts; (3) Attacks on the AHS are unavailing as a
17
     matter of fact; and (4) The studies on which Johnson’s experts rely do not reliably support a
18
     causation opinion and, relatedly, Johnson’s experts cannot rule out the possibility of chance or
19
     the impact of confounding factors. Motion, 5-11.
20
             In opposition, Johnson contends (1) Numerous individual studies15 and meta-analyses,16
21

22   on which experts may reasonably rely, demonstrate a positive association between glyphosate

23   exposure and NHL; (2) Epidemiological studies need not control for all other pesticide exposure
24   because pesticide exposure is only meaningful if the pesticide could cause NHL; (3) Monsanto
25
26
     15 Johnson cites McDuffie (2001), Hardell (2002), De Roos (2003), Erickson (2008), and NAPP (2015). Opposition,
27   9-13.
     16 Opposition, 15 (discussing three meta-analyses).


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 1   places too much weight on the AHS; and (4) Johnson’s experts take into consideration the full
2
     body of scientific evidence in reaching their opinions. Opposition, 7-22.
 3
            Monsanto replies that Johnson’s experts did not follow a reliable methodology because
 4
     they cherry-picked unreliable studies that would support their conclusions while ignoring studies
 5
 6   that would undermine their conclusions. Reply, 4. Specifically Monsanto argues (1) No

 7   epidemiology study shows a statistically significant relative risk of 2.0 or greater when properly

 8   adjusted, meaning when adjusted for confounders that have not been taken into account; (2) The
 9   studies Johnson cites are unreliable because they do not contain adjusted risk ratios that are
10
     controlled for other pesticides and, if they are adjusted, there is no statistically significant
11
     association between glyphosate-based herbicides and NHL; (3) The studies Johnson discussed
12
     are biased because, at least, some contain involved different latency periods; (4) The meta-
13
14   analyses are unreliable because they do not include the AHS; and (5) Johnson’s experts

15   improperly dismissed the AHS. Reply, 4-9.

16           Whether the epidemiological opinions are admissible turns on whether “there is support
17
     in the scientific literature for [the] expert opinion” and the opinion adheres “to standards
18
     applicable to [the experts’] field of expertise.” Davis v. Honeywell Intern. Inc., 245 Cal.App.4th
19
     477, 492 (2016).
20
             Preliminarily Monsanto challenges any epidemiology opinion that is not based on a study
21
22   that shows a statistically significant relative risk of 2.0 or greater. Cooper v. Takeda

23   Pharmaceuticals America, Inc., 239 Cal.App.4th 555 (2015) adopted the reasoning of a Ninth
24   Circuit opinion applying California law, stating that epidemiological studies are admissible to
25
     prove that a product was more likely than not the cause of a person’s disease only if the relative
26
     risk is greater than 2.0. Cooper, 239 Cal.App.4th at 593. (The relative risk factor of 2.0 implies
27



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 1   a 50% chance that a specific person’s disease was caused by the product.) So Cooper held that
 2
     an expert opinion that the defendant’s product was more probably than not the cause of the
 3
     plaintiffs injury was admissible if based on epidemiological studies showing a relative risk
 4
     factor of greater than 2.0 and ruled out other possible causes. Id.
 5
 6            But in Cooper the expert based a specific causation opinion on epidemiological studies.

 7   Here, Monsanto argues in the context of general causation. Johnson’s experts discuss

 8   epidemiological studies just as one factor in their opinion that glyphosate-based herbicides cause
 9   NHL. Motion, 6 (arguing that Johnson’s experts concede that epidemiology does not alone
10
     establish causality). Cooper does not mandate exclusion of these opinions for this purpose even
11
     if none of the studies shows a relative risk of greater than 2.0. Instead, the focus should remain
12
     on whether the epidemiological opinions offered by Johnson’s experts have support in the
13

14   scientific literature and adhere to standards applicable to epidemiological experts.

15            Monsanto focuses on Drs. Neugut and Ritz, basing this decision on its assertion that the

16   remaining experts apply the same methodology but have less epidemiology experience. Motion,
17
     5-6 n. 14. Drs. Neugut and Ritz offer the ultimate conclusion that, to a reasonable degree of
18
     scientific certainty, glyphosate causes NHL and that glyphosate based formulations cause NHL.
19
     Hoke Deck, Ex. 8 at 25 (Dr. Ritz), Ex. 11 at 23 (Dr. Neugut).17 Neither opinion is based solely
20
     on epidemiological evidence. Hoke Deck, Exs. 8, 11.
21

22
     17 (1) Dr. Portier opined that there were six epidemiological studies that showed a modest increase in the odds ratio
23   and relative risk for NHL amongst those who were exposed to glyphosate, which collectively amounted to a strong
     association between glyphosate exposure and NHL and were a factor in his broader causality analysis. Hoke Deck,
24   Ex. 13 at 18, 75, Ex. 13A at 18-19, 76. Dr. Portier subsequently explained why the AHS does not change his
     opinion. Hoke Deck, Ex. 15. (2) Dr. Nabhan discussed several epidemiological studies and incorporated a small
25   association between glyphosate exposure and NHL in his Bradford Hill analysis. Hoke Deck Ex. 18,11-16, 19. Dr.
     Nabhan also supplied supplemental reports criticizing the AHS. Hoke Deck, Exs. 19-20. (3) Dr. Weisenburger
26   discussed the epidemiological studies and considered the association shown in several of the case-control studies in
     his Bradford Hill analysis. Hoke Deck, Ex 21 at 4-6,11. Dr. Weisenburger submitted a supplemental report
27   criticizing the AHS. Hoke Deck, Ex. 22. (4) Although Matthew Ross is listed in the proposed order, Monsanto
     does not provide evidence of his opinions.


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 1           Dr. Neugut too does not base his conclusion solely on that epidemiological evidence.
 2
     Hoke Deck, Ex. 11 at 11-17. Dr. Ritz did offer a predicate opinion about the epidemiological
 3
     evidence - Dr. Ritz endorsed the IARC Working Group’s Monograph insofar as it conducted a
 4
     meta-analysis and reported a meta risk-ratio of 1.3. Hoke Deck, Ex. 8 at 16. Dr. Ritz also
 5
 6   offered a rebuttal report and a supplemental report in which she responded to Monsanto’s experts

 7   and criticized the AHS. Hoke Deck, Exs. 9-10.

 8           Johnson’s experts do not view epidemiological evidence as dispositive on causation.
 9   Monsanto Opening Brief at 6 n. 16 (citing evidence). They conceded that confounding and bias
10
     may explain the association found in the epidemiological evidence if the epidemiological
11
     evidence were viewed in isolation. Id.
12
             Monsanto’s first attack on Johnson’s epidemiology experts is this: when all of the data
13
14   concerning the association between glyphosate and NHL is considered, there is no association

15   between the two. Motion, 4-5. This attack is based on the AHS study. Monsanto argues that

16   Johnson’s experts cannot exclude the AHS from their analysis because it followed a sound
17                                                                               1R
     methodology and was published in a respected journal. Id. at 7.
18
              Monsanto’s second attack on Johnson’s experts is this: the studies they rely on do not
19
     control for confounding factors, such as exposure to other pesticides.19 Monsanto notes
20
     testimony suggesting that there could be a confounding problem (Edwards Deck, Ex. 29 at
21
22   90:15-20, 91:23-92:4) and that one of Johnson’s experts chose not to rely on data from the NAPP

23
24   18 Monsanto also argues that a plaintiff cannot establish causation through mere criticism of the AHS study. Motion,
     7. But that’s not Johnson’s pitch. His expert reports were submitted before the AHS was published and based their
25   causation opinions on a variety of other factors, including then-extant epidemiological evidence. After publication
     of the AHS, Johnson’s experts articulated reasons why the AHS did not impact their conclusions.
26   19 Monsanto argues that a chart in Dr. Ritz’s report includes the same data multiple times. Motion, 9-10. While this
     may lead the casual reader to inflate the munber of studies that have shown statistically significant associations
27   between glyphosate and NHL, it does not rebut the fact that some studies have shown a statistically significant
     association between glyphosate and NHL.


                                                                                                                    -ii-
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 1   study that was controlled for confounders because she questioned the validity of the approach
 2
     used to control for confounders (Edwards DecL, Ex. 26 at 292:11-293:21, 305:10-306:17).20
 3
              This is not a suggestion that that there is no support in the scientific literature, but rather
 4
     an attack on the studies that support the expert opinions. Where the validity, strengths, and
 5
 6   weaknesses of studies are subject to scientific interpretation and debate, the trial court may not

 7   step in and resolve the debate over the validity of the studies. Cooper, 239 Cal.App.4th at 589.

 8            Johnson’s epidemiology experts should not be excluded. While Johnson’s experts
 9   concede the limitations of the epidemiological evidence, there is at least one study that controlled
10
     for other pesticides and still found a statistically significant association between glyphosate and
11
     NHL. Edwards Reply Deck, Ex. 8 at 22:23-24:6, Ex. 11 at 16:7-17:25 (Dr. Ritz’s testimony
12
     regarding De Roos (2003); Hoke Deck Ex. 8 at 19 (discussing De Roos (2003)); Ex. 11 at 14-15
13

14   (same). Johnson’s experts appreciated the risk the confounders could create an unreliable

15   association between glyphosate exposure and NHL but believed, in light of the studies they

16   reviewed and the other information that they considered, that potential confounders were not the
17
18   20 In reply, Monsanto launches a third attack pursuant to which it charges Johnson’s experts with changing their
     positions or selecting data on the basis of expediency in making their argument. Reply, 6-8. These misleading
19   arguments are unpersuasive. First, Monsanto asserts that Dr. Ritz admitted to pulling out estimates that make sense
     for the argument she is trying to make. Reply, 6 (citing Edwards Reply Deck, Ex. 11 at 172:12-15). The cited
20   testimony reflects that Dr. Ritz was limiting her analysis to data in studies that is relevant to the issue that she was
     considering, nothing more. Second, Monsanto argues that Dr. Weisenburger took the official position that the
21   latency period for glyphosate based herbicides to cause NHL would be 20 years or more. Reply, 6-7 (citing
     Edwards Reply Deck, Ex. 12. The cited letter reflects that Dr. Weisenburg took the position that “the average
22   latency period for development of NHL due to long-term, low-level exposure to organic solvents is about 20 years.
     Since exposure to glyphosate would be expected to be long-term, low-level exposure...! would expect the average
23   latency period for glyphosate exposure in relation to potential for NHL to be at the upper end of [the range from 1-
     25 years], most likely 20 or more years from initial exposure.” Third, Monsanto charges Dr. Ritz with flip-flopping
24   on the De Roos (2003) study. Reply, 7 (citing report and testimony). The cited evidence is to the contrary: Dr. Ritz
     consistently gave significant weight to the De Roos (2003) study and consistently questioned whether it was indeed
25   necessary to control for all of the pesticides for which De Roos controlled. Fourth, Monsanto asserts that Dr. Ritz
     refused to include the AHS in her meta-analysis because she never relies on summaries. Reply, 8. The testimony
26   cited by Monsanto discloses that Dr. Ritz was simply making the point that a meta-analysis cannot be performed by
     lumping all of the extant studies into a single analysis without taking their quahty into consideration. Edwards
27   Reply Deck, Ex. 13 at 112:18-114:19.
     21 See my discussion above under the caption “The Reliability of Expert Opinion based on Peer Review Studies.”


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 1   cause of the association. Motion, 6 n.16 (citing evidence), 8:9-9:3. And Monsanto has not
 2
     identified any pesticides that may, in fact, have confounded the data. Finally, the supplemental
 3
     expert reports demonstrate that Johnson’s experts considered the strengths and weaknesses of the
 4
     AHS and the strengths and weaknesses of the case control study in reaching their conclusions
 5
 6   about epidemiology and causation. E.g., Hoke Deck, Exs. 10,12, 15. This is what was required

 7   of them. See Cooper, 239 Cal.App.4th at 589.

 8                                  ii.     Toxicology
 9          Monsanto asserts that Dr. Fortier used the same methodology as all of Johnson’s
10
     toxicology experts and has the most expertise and the most detailed analysis. Motion, 11.
11
     Accordingly, Monsanto targets Dr. Fortier’s analysis and says all the remaining toxicology
12
     expert analyses fall with Dr. Fortier’s analysis. Id.
13
14          At the outset, Monsanto contends that there are fourteen toxicological studies, all of

15   which are negative - he., there is no finding of carcinogenicity. Motion, 13. Monsanto asserts

16   that all regulators that have reviewed the data have concluded that it shows that the animal data
17
     does not show evidence of carcinogenicity. Id.
18
            Turning to Dr. Fortier’s methodology, Monsanto argues that Dr. Fortier committed the
19
     following errors: (1) Dr. Fortier analyzed the data that was the basis for statistical analyses of
20
     renal tumors in mice that were performed in 1983 and 1985 using a variety of different tests
21
22   rather than using one methodology and sticking to it, a methodology that leads Monsanto to

23   argue that Dr. Fortier selected methods based on the result he wanted; (2) Dr. Fortier pooled data
24   from studies performed at different laboratories in different animals by different investigators at
25
     different times, a methodology that Monsanto claims is without scientific support, in a manner
26
     that suggests his approach was result-oriented because he included some studies in his pooled
27



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 1   analysis for some malignancies but not others; and (3) Dr. Portier recognized the possibility that
 2
     some statistically significant results may occur by chance alone but did not attempt to control for
 3
     such “statistical errors.” Id. at 13-17.
 4
             In opposition, Johnson asserts (1) The animal carcinogenicity studies are a proper basis
 5
 6   for an expert opinion; (2) Drs. Portier and Jameson reached their opinions prior to being retained;

 7   (3) Johnson’s experts properly followed established guidelines; (4) All of the tests Dr. Portier

 8   performed to analyze the renal tumors in mice are recognized as appropriate tests; (5) Dr.
 9   Portier’s pooling methodology is scientifically supported and supported by Dr. Fortier’s
10
     experience; and (6) Dr. Fortier’s analysis demonstrates that he did not perform an analysis with a
11
     pre-determined result in mind. Opposition, 22-29.
12
            In reply, Monsanto contends that (1) Johnson does not have expert testimony that
13

14   contains a reliable methodology for extrapolating animal toxicology data to humans; (2) Dr.

15   Jameson’s opinions were not disclosed and cannot be considered; and (3) Dr. Fortier’s pooling

16   methodology was improper. Reply, 9-11.
17
             At the most basic level. Dr. Portier opined that glyphosate causes cancer in mammals.
18
     Hoke Deck, Ex. 13A at 52,74. To reach this conclusion. Dr. Portier analyzed 20 animal studies,
19
     of which he found eight unacceptable for use. Hoke Deck, Ex. 13A at 50, 52; Hoke Deck, Ex.
20
     13A at 19-52.
21
22           Dr. Fortier’s predicate conclusion that glyphosate causes cancer in mammals was one of

23   several predicate conclusions that, when considered together, led Dr. Portier ultimately to
24   conclude that glyphosate probably causes NHL. Hoke Deck, Ex. 13A at 76-78. Dr. Portier
25
     considered the conclusion that glyphosate causes cancer in mammals “very strong” evidence that
26
27



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 1   a causal relationship between glyphosate exposure and NHL was biologically plausible. Hoke
 2
     Deck, Ex. 13 A at 77.
 3
              Monsanto seems to challenge Dr. Fortier’s opinion because he cannot reliably extrapolate
 4
     animal toxicology data to humans. But Dr. Fortier does not directly apply animal toxicology
 5
 6   data to humans. Rather, he concludes the fact that, according to his analysis, glyphosate causes

 7   cancer in mammals (i.e., rodents) renders it biologically plausible, under the Bradford Hill

 8   rubric, that glyphosate could cause a specific form of cancer, NHL, in humans. Monsanto does
 9   not suggest this is a misapplication of the Bradford Hill criteria.               Hoke Decl., Ex. 13 A at 76.
10
              This leaves Monsanto’s three challenges to Dr. Fortier’s calculations. First, Monsanto
11
     charges Dr. Fortier with selecting a statistical test to reach a desired result in his analysis of renal
12
     tumors in mice in connection with a 1983 bioassay. Motion, 13-14. Monsanto begins with
13
14   ambiguous deposition testimony that shows that Dr. Fortier verified that the approximate p-value

15   from an Armitage linear trend test, which was an approximate trend test, appeared to be correct.

16   Edwards Decl., Ex. 21 at 47:1-17; Motion, 14. Dr. Fortier subsequently used a different test and
17
     again achieved a statistically significant result. Edwards Deck, Ex. 35 at Document 5.
18
     Thereafter, a commenter criticized Dr. Fortier for failing to use an exact trend test. Edwards
19
     Deck, Ex. 35 at Document 6. In response, Dr. Fortier rebutted the criticism and stood by his
20
     analysis, but noted that the p-values would be marginal rather than statistically significant if an
21
22   exact trend test was used. Edwards Deck, Ex. 35 at Document 7. Dr. Fortier did not manipulate

23   his methodology to attain a desired result; he selected a methodology and defended it against
24   criticism from another commentator.
                                                  'yx


25

26
     22 These criteria are explained below under the caption “Bradford Hill Criteria” at p.20 of this order.
27   23 Significantly, Monsanto does not challenge the reliability of the methods that Dr. Fortier used to attain a
     statistically significant result.


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 1            Second, Monsanto argues that Dr. Fortier’s pooling methodology is unsupported in the
 2
     literature and was executed by including studies only if they would facilitate a statistically
 3
     significant result. Motion, 15-16. Id. Dr. Fortier admitted that the scientific literature does not
 4
     contain methods for the combined analysis of multiple animal cancer bioassays. Hoke Deck, Ex.
 5
 6   13A at 21. Dr. Fortier imported a pooling methodology from epidemiology to combine animal

 7   carcinogenicity studies by merging the data from the studies for analysis. Hoke Deck, Ex. 13A

 8   at 21-22. Dr. Fortier acknowledged that there is considerable genetic variability across animal
 9   strains over both time and space, but nevertheless decided that pooling was appropriate because
10
     it is no different from comparing results across studies. Hoke Deck, Ex. 13A at 51-52. Dr.
11
     Fortier’s testimony indicated that he selected his pools by including the studies that would, when
12
     combined, yield statistically significant positive findings. Edwards Deck, Ex. 21 at 210:6-
13

14   212:15,214:3-219:23,236:17-240:1.24 Dr. Fortier’s report and deposition testimony do not

15   support the conclusion that it is scientifically acceptable or reliable to pool disparate rodent

16   assays or that the manner in which Dr. Fortier conducted pooling was reliable.                  Accordingly,
17
     Dr. Fortier’s pooling opinions are excluded.
18
              At argument Johnson contended excluding these pooling results does not invalidate his
19
     ultimate opinion that glyphosate causes cancer in mammals. See also Hoke Deck, Ex. 14
20
     (responding to criticism from Monsanto’s expert). To the extent Dr. Fortier can support his
21

22   ultimate conclusion on the basis of other rationales set forth in his expert reports, his ultimate

23   conclusions are not excluded by this order.
24
     24 This appears to be a classic case of cherry picking input to generate putatively statically significant results—
25   sometimes derisively known as “p-hacking”. See above n. 13.
     23 Johnson cites the December 2016 Scientific Advisory Panel as an endorsement of Dr. Fortier’s pooling analysis.
26   Hoke Deck, Ex. 42. It is true that some Panel members recommended adopting a pooled analysis approach for
     combining multiple studies. Hoke Deck, Ex. 42 at 59. But they stated that such adoption would require the
27   development of full guidelines on how to conduct and evaluate these analyses. Hoke Deck, Ex. 42 at 59. This does
     not endorse Dr. Fortier’s approach.


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 1            Third, Monsanto argues that Dr. Portier failed to adequately control for the fact that some
 2
     statistically significant results will appear in the rodent studies by chance. Motion, 16-17. The
 3
     argument is unclear and is not revisited in reply. Motion, 16-17. This is not a basis for
 4
     exclusion.26
 5
 6            While Monsanto says the remaining experts will fall with Dr. Portier, it’s not obvious the

 7   other experts relied on Dr. Fortier’s pooling analysis. Hoke Deck, Ex. 8 at 24-25; Ex. 11 at 17-
 8   18, Ex. 18 at 6-10,20. Johnson’s other experts opinions on this subject do not fall except to the
 9   extent they predicate their opinions on the pooling analysis.
10
              Dr. Jameson is referenced in the opposition papers but may not have been disclosed as an
11
     expert in this case. Edwards Deck, Exs. 3, 5. For the purposes of this motion, it is enough to
12
     note that Dr. Jameson was not the subject of the pending motion. Reply, 10 (arguing, in
13
14   response to references to Dr. Jameson in the opposition papers, that Dr. Jameson’s testimony

15   cannot be considered at trial or on summary judgment because he was not disclosed as an
16   expert).
17
                                          iii.      Genotoxicity/Mechanism
18
              Monsanto asserts that genotoxicity - he., whether a chemical causes DNA damage or
19
     other cellular changes - cannot alone establish carcinogenicity. Motion, 18. Monsanto also
20
21   argues that the regulators uniformly view the tests that have been performed on glyphosate as not

22   supporting a finding of carcinogenicity.

23            Monsanto asserts that genotoxicity or mechanistic data have only been found to be
24   relevant under Daubert where scientifically sound human data is unavailable. Id. at 19.
25
26   26 Because statistical significance is a measure of the odds that the results of a study are the result of chance, and
     commonly the significance level is set at .05, there is always some chance (1 out of 20) in any “statistically
27   significant” set of results that they are in fact the result of chance. E.g. Reference Manual on Scientific
     Evidence at 251 ff. (3rd ed. 2011).


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 1   Monsanto argues that the genotoxicity or mechanistic data are inadmissible here because (1) Dr.
2
     Portier improperly counted the studies showing positive and negative results; (2) In vitro studies
 3
     cannot be extrapolated to this case; and (3) The Bolognesi (2009) and Paz-y-Mino (2007) studies
4
     on which Johnson’s experts rely are methodologically flawed and, in any event, do not support
 5
 6   the experts’ conclusions. Id. at 19-20.

 7          Plaintiff retorts (1) The Bolognesi and Paz-y-Mino studies are reliable and Dr. Portier

 8   properly relied on them; and (2) Dr. Portier reliably analyzed each of the genotoxicity or
 9   mechanistic studies, he did not “add up” positive studies. Opposition, 29-32. Monsanto does not
10
     address this topic in reply.
11
            Monsanto does not specify which opinions it challenges. As a general matter, Monsanto
12
     suggests that it objects to any consideration of genotoxicity or mechanism testimony. This
13
14   approach is unsupported by Monsanto’s citations and conflicts with the Bradford Hill criteria.

15   which require consideration of biological plausibility. Hoke Deck, Ex. 11 at 22 (considering

16   biological mechanisms - genotoxicity and oxidative stress - adduced for glyphosate’s mode of
17
     action in evaluating biological plausibility under Bradford Hill), Ex. 13A at 52-74.
18
             Monsanto’s concern that in vitro studies cannot be extrapolated to humans does not
19
     justify exclusion of the opinions in this case. The experts do not consider the genotoxicity
20
     studies to be direct evidence of causality, but instead consider it as a factor supporting biological
21
22   plausibility under the Bradford Hill rubric. Hoke Deck, Ex. 11 at 22, Ex. 13 A at 52-74.

23   This seems to be supported by the scientific literature. In re Zicam Cold Remedy Marketing,
24   Sales Practices, and Products Liability Litigation, 2011 WL 798898, at *9-* 10 (D. Ariz. Feb.
25
     24, 2011) (in vitro study was reliable so its results were admissible although it was not direct
26
     evidence of toxicity to humans, expert would be required to explain extrapolation theory).
27



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 1           Monsanto’s argument that Dr. Portier simply added up the positive and negative studies
 2
     does not support exclusion. Dr. Portier explained that the table was a summary of the studies that
 3
     did not address the subtlety needed to interpret any one study, but instead was intended to enable
 4
     the reader to see the experimental data in a single glance. Hoke Deck, Ex. 13 A at 65-66. The
 5
 6   inclusion of a summary table does not render the analysis flawed.

 7           Finally, Monsanto’s challenge to the Bolognesi and Paz-y-Mino studies are unpersuasive.

 8   Aside from Monsanto’s facial challenge to the methodologies in those studies,27 Monsanto relies
 9   on subsequent statements by authors that allegedly undercut the study findings. Motion, 20.
10
     Specifically, Monsanto quotes a newspaper article, which in turn quotes a co-author of the
11
     Bolognesi study for the proposition that there was no difference in the micronuclei between
12
     exposed individuals and control individuals. Id.\ Edwards Deck, Ex. 47.                 Johnson responds by
13
14   citing studies in which the primary Bolognesi author describes the study differently, albeit while

15   expressing reservations about the conclusions that can be drawn from the study. Hoke Deck,

16   Exs. 72-73. In addition, Monsanto cites a second study conducted by Paz-y-Mino that evaluated
17
     a separate instance of glyphosate spraying and found that the study population did not present
18
     significant chromosomal and DNA alterations. Edwards Deck, Ex. 48.
19
             There is no argument that Johnson’s experts afforded undue weight to these studies.
20
     Compare Hoke Deck, Ex. 13 A at 55-56 (discussing all three studies). Nor is there any apparent
21

22

23
24   27 Monsanto cites the studies themselves as evidence that they are methodologically flawed. Motion, 20 n.44.
     28
        Monsanto cites Arias v. DynCorp, 928 F.Supp.2d 10, 24-25 (D.D.C. 2013) as excluding an expert NHL causation
25   opinion based on the Bolognesi and Paz-y-Mino studies. Motion, 20. But Arias did not discuss the Bolognesi and
     Paz-y-Mino studies but instead excluded an expert opinion that failed to explain the basis for reliance on certain
26   epidemiological studies vis-a-vis other epidemiological studies. Arias, 928 F.Supp.2d at 24-25.
     29 This quotation is in tension with Monsanto’s simultaneous reliance on the statement in the Bolognesi study that
27   there was a “low” genotoxic risk potentially associated with exposure to GBH. Motion, 20 (citing Edwards Deck,
     Ex. 45 at 986).


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 1   reason why Johnson’s experts cannot offer opinions on these three published studies. The
 2                                                                              OA

     motion to exclude any testimony on these studies is denied.
 3
                                          iv.       Bradford Hill Criteria
 4
              Johnson’s experts applied the Bradford Hill criteria. Motion, 21. Monsanto contends
 5
 6   that this was improper because the Bradford Hill criteria can only be applied when there is

 7   epidemiology that demonstrates a “specific, clear-cut association between the two variables

 8   under examination” - i.e., an association that is positive and “strongly statistically significant”
 9   after confounders have been eliminated. Monsanto argues that Johnson’s experts cannot use the
10
     Bradford Hill criteria here because (i) the epidemiological data does not demonstrate a sufficient
11
     association and (ii) the studies on which they rely cannot establish temporality or strength and
12
     because the AHS found no evidence of dose response.
13

14            The parties appear to agree generally that the Bradford Hill criteria and its nine factors or

15   viewpoints are an acceptable means of evaluating causality if done correctly. Motion, 21-22.

16   “None of [the] nine viewpoints can bring indisputable evidence for or against the cause-and-
17
     effect hypothesis and none can be required as a sine qua non.” Edwards Decl., Ex. 49 at 11.
18
     Scientists apply the Bradford Hill criteria once an association has been found between an
19
     exposure to an agent and development of a disease. In re Lipitor (Atorvastatin Calcium)
20
     Marketing, Sales Practices and Products Liability Litigation, 174 F.Supp.3d 911, 916 (D.S.C.
21
22   2016) {Lipitor). The nine factors are (1) strength of the association, (2) replication of the

23   findings, (3) specificity of the association, (4) temporal relationship, (5) dose-response
24   relationship (aka biological gradient), (6) biological plausibility, (7) consistency with other
25

26   30 Monsanto also submits evidence to support the conclusion that glyphosate is not, in fact, genotoxic. Edwards
     Decl., Ex. 1 at 135 (containing only a conclusion without analysis). Ex. 43 at 10 (conclusion with limited analysis),
27   Ex. 44 at 132 (concluding that the studies showing lack of genotoxic potential outweigh the studies showing positive
     results). In light of the other evidence in the record, this evidence at most indicates that there is a scientific dispute.


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 1   knowledge (aka coherence), (8) consideration of alternative explanations, and (9) cessation of
 2
     exposure. Id. “Whether an established association is causal is a matter of scientific judgment,
 3
     and scientists appropriately employing this method may come to different judgments about
 4
     whether a causal inference is appropriate.” Id. (internal quotations omitted).
 5
 6          As I have noted, there is some scientific evidence of an association between glyphosate

 7   exposure and NHL. To the extent Monsanto’s motion to exclude any Bradford Hill opinions is

 8   based on the absence of an association, it is denied. Compare Lipitor, 174 F.Supp.Sd at 924-25
 9   (noting that Bradford Hill criteria only apply if there is an association that has been established
10
     through studies with statistically significant results); Soldo v. Sandoz Pharmaceuticals Corp,
11
     244 F.Supp.2d 434,461 (W.D. Pa. 2003); Dunn v. Sandoz Pharmaceuticals Corp., 275
12
     F.Supp.2d 672, 679-80 (M.D.N.C. 2003); Hollander v. Sandoz Pharmaceuticals Corp., 95
13
14   F.Supp.2d 1230,1237 (W.D. Okla. 2000) (rejecting Bradford Hill analysis premised on case

15   reports because those reports are not a scientific basis for a conclusion regarding causation).

16          Monsanto also makes specific challenges to the application of the Bradford Hill criteria.
17
            With respect to the strength criterion, the cited secondary source does not appear to
18
     address the application of the Bradford Hill criterion but rather the strength of epidemiological
19
     evidence necessary to independently prove causation. Edwards Deck, Ex. 50 at 612 n. 193. This
20
21   does not suggest that Johnson’s experts have misapplied the criterion or that all reasonable

22   scientists would agree as to its application here. See, e.g., Hoke Deck, Ex. 8 at 23 (finding a

23   weak to moderate association). Ex. 11 at 22 (reciting the strength of the association in
24   mathematical terms); Edwards Deck, Ex. 49 at 11.
25
            With respect to the temporality criterion, it is at least true that case-control studies
26
     evaluate whether the glyphosate exposure preceded the contraction of NHL. See, e.g., Hoke
27



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 1   Decl., Ex. 11 at 21, Ex. 13A at 11. Monsanto’s criticism does not suggest a misapplication of
 2
     this factor.
 3
             With respect to dose response, the absence of dose response in AHS does not foreclose
 4
     the existence of other data supporting a positive dose response finding. Kg., Hoke Deck, Ex. 11
 5

 6   at 22 (noting two studies that “suggest” there is a dose response relationship). And causality can

 7   be established without a positive or strong dose response finding. Edwards Deck, Ex. 49 at 11.

 8           With respect to consistency, Monsanto’s conclusory assertion does not establish that
 9   Johnson’s experts erred in their evaluation of consistency. See, e.g., Hoke Deck, Ex. 8 at 24
10
     (discussing consistency factor). Ex. 11 at 22 (same).
11
             For these reasons the motion to exclude the Bradford Hill analyses is denied.
12
                            b.     Specific Causation
13
14           Monsanto seeks an order prohibiting Drs. Chadi Nabhan and William Sawyer from

15   testifying at trial regarding any opinion that exposure to glyphosate caused Johnson to develop

16   mycosis fungoides, including Dr. Sawyer’s exposure analysis.
17
                                   i.      Dr. Nabhan
18
             First, Monsanto argues that Dr. Nabhan improperly extrapolated from literature
19
     concerning NHL generally to mycosis fungoides specifically. Motion, 22-23. Second,
20
21   Monsanto contends that Dr. Nabhan improperly based his opinion on the fact that Johnson was

22   exposed to glyphosate before contracting mycosis fungoides to infer causation without ruling out

23   other causes—he did not provide a proper methodology to “rule in” and “rule out” various risk
24
     factors. Reply, 12-13. Monsanto explains that Dr. Nabhan has no way of evaluating whether
25
     glyphosate was a more likely cause than other possible causes, no basis to extrapolate from NHL
26
     literature to mycosis fungoides, and has performed no exposure analysis. Id. at 13-14.
27



                                                                                                     -22-
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 1          Dr. Nabhan submitted an expert report and supplemental report in support of general
 2
     causation. Hoke Deck, Exs. 18-19,20. Dr. Nabhan adopted his general causation opinions.
 3
     discussed the history of Johnson’s mycosis fungoides (a type of NHL), and discussed the history
4
     of Johnson’s exposure to glyphosate through Monsanto’s products, Hoke Deck, Ex. 20 at 2-9,
 5
 6   and concluded that Monsanto’s Roundup was a substantial causative factor in the development

 7   and progression of Johnson’s NHL and that all other medically known causes of the disease had

 8   been ruled out based on Johnson’s history. Hoke Deck, Ex. 20 at 8-9.
 9          At deposition, Dr. Nabhan testified that there is presently insufficient data to evaluate
10
     whether or not glyphosate is associated with each subtype of NHL. Edwards Deck, Ex. 22 at
11
     105:17-107:8. Nevertheless, he opined that the data pertaining to NHL generally can be used to
12
     draw conclusions about all of the subtypes, including the one at issue here, mycosis fungoides.
13
14   Edwards Deck, Ex. 22 at 105:23-106:11; Edwards Deck, Ex. 51 at 105:16-107:2. Dr. Nabhan

15   emphasized that the only risk factor in Johnson’s record was his occupational exposure to

16   glyphosate compounds. Edwards Deck, Ex. 51 at 138:6-16. Nevertheless, Dr. Nabhan agreed
17
     that Johnson “could have” developed mycosis fungoides even if he had never been exposed to
18
     glyphosate. Edwards Deck, Ex. 51 at 138:21-25; see also Edwards Reply Deck, Ex. 4 at 258:23-
19
     259:7 (Dr. Nabhan cannot give a percentage increase in the risk of NHL if an individual is
20
     exposed to glyphosate).
21
22          Monsanto relies entirely on Dr. Nabhan’s own testimony to challenge the admissibility of

23   his specific causation opinion.
24          First, I reject Monsanto’s argument that there is no scientific basis for Dr. Nabhan to rely
25
     on studies that apply to NHL generally in the context of mycosis fungoides. There is a scientific
26
     basis for Dr. Nabhan’s opinion - mycosis fungoides is a subtype of NHL. While Dr. Nabhan
27



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 1   admits uncertainty, his opinion is not mere speculation. His report explicitly lists the alternative
2
     known causes of NHL that he ruled out based on his review of Johnson’s record. Hoke Deck,
 3
     Ex. 20 at 8-9. Monsanto has not identified any known causes that Dr. Nabhan failed to consider.
4
     While Dr. Nabhan cannot rule out chance, he has a scientific basis to support his conclusion as to
 5
 6   specific causation - his general causation opinion with respect to NHL, the fact that mycosis

 7   fungoides is a subtype of NHL, the temporal connection between Johnson’s exposure to

 8   glyphosate and development of mycosis fungoides, and the absence of exposure to other known
 9   causes.
10
               The parties have drawn my attention to two cases, Wendell v. GlaxoSmithKline LLC, 858
11
     F.3d 1227 (9th Cir. 2017) and Milward v. Acuity Specialty Products Group, Inc., 639 F.3d 11
12
     (1st Cir. 2011). In Wendell, the Ninth Circuit held the trial court erred in excluding expert
13
14   testimony that was not supported by epidemiological or animal studies because it improperly

15   ignored the experts’ experience, reliance on a variety of literature and studies, review of medical

16   records and history, and performance of a differential diagnosis. Wendell, 858 F.3d at 1232-37.
17
     Here, Dr. Nabhan has extensive experience as a treating physician to support his conclusions. In
18
     Milward, the First Circuit held it was improper to treat the lack of statistically significant
19
     epidemiological evidence as a crucial flaw where the rarity of the disease and the difficulties of
20
     data collection made it difficult to conduct a statistically significant study. Milward, 649 F.3d at
21
22   24. Dr. Nabhan’s unrebutted testimony supports the conclusion that the same conditions apply to

23   mycosis fungoides.
24             An underlying issue in the parties’ debate on specific causation—but not expressly
25
     addressed by them—is how to account for idiopathy.31 Under Daubert in federal courts, it can
26

27   311.e. a condition occurring for unknown reasons. Best v. Lowe's Home Centers, Inc., 563 F.3d 171,174 (6th Cir.
     2009).


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 1   be fatal if an expert fails to explain why a specific plaintiffs disease should not be classified as
 2
     idiopathic when generally speaking most of its instances are idiopathic. Kilpatrick v. Breg, Inc.,
 3
     613 F.3d 1329,1343 (11th Cir. 2010) (expert cannot “explain why potentially unknown.
 4
     or idiopathic alternative causes were not ruled out”); Chapman v. Procter & Gamble Distrib.,
 5
 6   LLC, 766 F.3d 1296,1311 (11th Cir. 2014) (failed to consider idiopathic cause); Tamraz v.

 7   Lincoln Elec. Co., 620 F.3d 665,671 (6th Cir. 2010) (same). Idiopathy need not be entirely

 8   ruled out, but there needs to be an explanation as to why an identified cause is considered likely.
 9   E.g., Wendell, 858 F.3d at 1235,1237. Ruling out idiopathy only because another cause is ruled
10
     in—when there is no basis to rule it in—isn’t admissible expert opinion. Milward v. Rust-Oleum
11
     Corp. 820 F.3d 469,476 (1st Cir. 2016).
12
            Thus I turn to the extent to which Dr. Nabhan ruled in the Monsanto product as a cause.
13
14           With respect to specific causation, Dr. Nabhan incorporated his entire general causation

15   analysis and highlighted the following factors: (1) Plaintiffs exposure history (i.e., the number

16   of times Plaintiff sprayed glyphosate-based herbicides, the amount of time spent on each
17
     occurrence, the protective gear worn, and the occurrence of spilling events); (2) The fact that
18
     Plaintiffs exposure was greater than the exposure in two epidemiological studies that reported
19
     relative risk of greater than 2.0; (3) Plaintiffs mycosis fungoides diagnosis, including its timing;
20
     and (4) The absence of other known causal factors of NHL to which Plaintiff was exposed (i.e.,
21
22   immunosuppressive therapy; although there are some associations - such as Plaintiffs sex - that

23   may indicate he is more susceptible to the disease than other members of the population). Id.,
24   Ex. 20. Dr. Nabhan admitted that he could not rule out other contributing factors; but he is not
25
     required to do so. Cooper, 239 Cal.App.4th at 585-86; Wendell, 858 F.3d at 1237.
26
            Dr. Nabhan’s specific causation opinion is not excluded.
27



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 1                                  ii.     Dr. Sawyer
 2
              Monsanto argues that Dr. Sawyer’s specific causation opinion should be excluded
 3
     because (1) Dr. Sawyer calculated a “slope factor” by extrapolating numerous rodent studies to
 4
     humans without justifying his extrapolation; (2) Cancer slope factors should not be applied to
 5
 6   reach a causation conclusion in an individual case; (3) Dr. Sawyer engaged in an outcome driven

 7   approach; (4) Dr. Sawyer’s slope factor is not tailored to this case because it includes exposure to

 8   glyphosate beyond occupational exposure; and (5) Dr. Sawyer’s slope factor does not support
 9   causation because the risk he states was caused by occupational exposure to glyphosate is less
10
     than the background risk for African-American males of Johnson’s age. Motion, 24-27.
11
     Moreover, Monsanto argues that Dr. Sawyer’s opinion on Tyvek permeability, which was
12
     offered on the basis of an experiment Dr. Sawyer conducted the night before his deposition,
13
14   should be excluded because it was not timely disclosed and is not reliable. Id. at 27-28.

15            Johnson retorts that (1) Dr. Sawyer extrapolated a slope factor using appropriate

16   scientific methodology to assess whether Johnson’s exposure was within the range capable of
17
     causing him to contract NHL; (2) Dr. Sawyer relied on dose response data in epidemiology
18
     studies, as evaluated by epidemiological experts, to reach his specific causation opinion; and (3)
19
     Dr. Sawyer’s experiment to determine whether Tyvek is permeable to water is admissible
20
     because it was disclosed at deposition and reliably assesses Tyvek’s permeability. Opposition,
21
22   38-42.

23            Dr. Sawyer’s permeability experiment is excluded. Dr. Sawyer poured water onto Tyvek
24   to assess whether Johnson’s testimony that Tyvek is water permeable was true. Hoke Decl., Ex.
25
     68 at 17-18. Determining whether Tyvek is water permeable does not require expertise, so the
26
     experiment will not be helpful to the jury. E. C. § 801; Hoke Dec., Ex. 68 at 17-18. However,
27



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 1   this does not preclude Dr. Sawyer from crediting, and relying upon, Johnson’s testimony that his
 2
     Tyvek suit was permeable to both water and Roundup, as Dr. Sawyer did in his expert report.
 3
     See Hoke Deck, Ex. 7 at 162.
 4
            Turning to Dr. Sawyer’s specific causation opinion, Dr. Sawyer concluded, to a
 5
 6   reasonable toxicological certainty, that Johnson’s glyphosate exposures induced or significantly

 7   contributed to the onset of Johnson’s T-cell lymphoma. Hoke Deck, Ex. 7 at 8,166. Dr.

 8   Sawyer’s conclusion was based on Johnson’s exposure to glyphosate, the absence of other risk
 9   factors in his medical history, animal studies pertaining to glyphosate, and human
10
     epidemiological studies pertaining to glyphosate. Id.
11
            Dr. Sawyer used a cancer slope factor as one element of his analysis. Hoke Deck, Ex. 68
12
     at 11-13. Dr. Sawyer asserts that he derived the slope factor in humans from a rodent study
13
14   consistent with U.S. EPA guidelines. See Hoke Deck, Ex. 7 at 121-22,127-28, Ex. 68 at 9-11.

15          Monsanto criticizes Dr. Sawyer’s extrapolation from rodent studies to calculate a slope

16   factor applicable to humans. Motion, 24; Reply, 14. Monsanto cites cases for the proposition
17
     that experts must establish the validity of any extrapolation from animal studies to humans. See
18
     Motion, 24; Reply, 14; Metabolife Intern., Inc. v. Wornick, 264 F.3d 832, 842-43 (9th Cir. 2001)
19
     (“Difficulties with extrapolation might render animal studies unreliable under Daubert; however,
20
     such a determination must be made on problems inherent to the studies themselves, not a general
21
22   apprehension at inter-species and inter-dosage extrapolation”).

23          Dr. Sawyer himself seemed to agree that the cancer slope factor did not help analysis of
24   specific causation. Edwards Deck 155. Ex 54. Sawyer Depo. at 543:7-14; Hoke Deck, Ex. 68 at
25
     15. As became clear at argument, Dr. Sawyer used software employed by the EPA to determine
26
     safe regulatory levels. But that is “[p]articuarly problematic... [because rjegulatory standards
27



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 1   are set for purposes far different than determining the preponderance of evidence in a toxic tort
 2
     case. For example, if regulatory standards are discussed in toxic tort cases to provide a reference
 3
     point for assessing exposure levels, it must be recognized that there is a great deal of variability
 4
     in the extent of evidence required to support different regulations.” Reference Manual on
 5
 6   Scientific Evidence at 665 (3rd ed. 2011). See id. at 665-66. Thus Johnson’s counsel agreed

 7   that the cancer slope opinion be excluded at trial, with the right to raise the issue if Monsanto in

 8   some way opens the door to its relevance.
 9           Otherwise, Dr. Sawyer apparently relies on other factors to reach his specific causation
10
     opinion, which Monsanto leaves largely unaddressed. For these reasons, assuming Dr. Sawyer is
11
     willing to rely on grounds other than the cancer slope factor, his specific causation opinion is not
12
     excluded.
13
14                          c.      Corporate Conduct and EPA Regulations

15          Monsanto seeks an order prohibiting Drs. Charles Benbrook and William Sawyer from

16   testifying at trial regarding any opinion of Monsanto’s corporate conduct and prohibiting Dr.
17
     Benbrook from testifying regarding any alleged violations of EPA regulations.
18
                                    i.      Dr. Benbrook
19
             Apparently Dr. Benbrook intends to testify that Monsanto should have warned the public
20

21   about the risk of NHL associated with the use of and exposure to glyphosate and glyphosate-

22   based formulations on the basis of a methodology that consists of reviewing Monsanto emails

23   and memoranda and interpreting those documents. Motion, 28.
24
            Dr. Benbrook’s basic opinion is that Monsanto failed to adequately warn about the risk of
25
     NHL associated with the use of Roundup and RangerPro beginning in or before 2001. Hoke
26
     Deck, Ex. 23 at 5.
27



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 1          Dr. Benbrook has a B.A. in Economics and a Ph.D. in Agricultural Economics. Hoke
 2
     Deck, Ex. 23 at 31. From 1981-1983, Dr. Benbrook was the Staff Director of the Subcommittee
 3
     on Department Operations, Research and Foreign Agriculture of the House Committee on
 4
     Agriculture. Hoke Deck, Ex. 23 at 31. From 1984 to 1990, Dr. Benbrook served as the
 5
 6   Executive Director of the Board on Agriculture, a unit of the National Academy of

 7   Sciences/National Research Council. Hoke Deck, Ex. 23 at 33. Dr. Benbrook started Benbrook

 8   Consulting Services (BCS) in 1990. Hoke Deck, Ex. 23 at 35. Since that time, BCS has carried
 9   out several dozen projects involving pesticide use, risks, and regulation for federal and State
10
     government agencies, companies, private institutions, and non-governmental organizations.
11
     Hoke Deck, Ex. 23 at 35. From 1998-2005, Dr. Benbrook maintained a website that focused on
12
     Roundup Ready crops. Hoke Deck, Ex. 23 at 36. Dr. Benbrook has written papers on the impact
13
14   of genetically engineered crops on pesticide use and trends in the use of glyphosate-based

15   herbicides. Hoke Deck, Ex. 23 at 37-38. In recent years, Dr. Benbrook has taken professorial

16   positions, one of which focused on developing and applying analytical tools to quantify the
17
     impact of agricultural technology and farm production systems on agriculture’s environmental
18
     footprint and public health outcomes. Hoke Deck, Ex. 23 at 38-39. As Johnson notes, Benbrook
19
     has previously been approved by a court to testify: “(1) about the general roles of the EPA, the
20
     registrant, and the state in the registration process for pesticides; (2) the general regulatory
21
22   framework set up by FIFRA; (3) the industry standards and the stewardship duty; (4) the factual

23   circumstances surrounding the 1995 changes to the label and the obtaining of the 24(c) label; and
24   (4) their opinions on whether DuPont's conduct satisfied industry standards and any stewardship
25
     duty.” Adams v. US., 2009 WL 1085481, at *3 (D. Idaho Apr. 20, 2009).
26

27



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 1          Dr. Benbrook’s background does not demonstrate much familiarity with the EPA or
 2
     Monsanto’s internal knowledge or regulatory compliance. He does have some experience
 3
     tracking the rise of glyphosate-based herbicides and some experience with the regulatory regime
 4
     applicable to herbicides. Based on this experience, Dr. Benbrook may testify as to the general
 5

 6   framework of the EPA regulatory decision making process. Hoke Deck, Ex. 23 at 40-44. But he

 7   should not testify on other subjects, as follows:

 8          First, Dr. Benbrook may not offer any opinions as to the proper interpretation of
 9   documents, such as emails, or to argue that inferences of knowledge or intent can be derived
10
     from those documents. Opposition, 45 (stating that Dr. Benbrook is not being offered to provide
11
     such opinions); Edwards Deck, Ex. 4 at 9 (my order in other litigation); see, e.g., Hoke Deck,
12
     Ex. 23 at || 803-833. Dr. Benbrook’s opinions about the knowledge and intent of Monsanto and
13
14   other actors invade the province of the jury and are often speculative. E. C. § 801(a).

15          Second, Dr. Benbrook may not opine on Monsanto’s legal obligations. Summers v. A.L.

16   Gilbert Co., 69 Cal.App.4th 1155, 1178 (1999) (expert may not opine on a question of law); see,
17
     e.g., Hoke Deck, Ex. 23 at 11084.
18
            Third, Dr. Benbrook may not relate case-specific facts asserted in hearsay statements
19
     unless they are independently proven by competent evidence or are covered by a hearsay
20
     exception. People v. Sanchez, 63 Cal.4th 665, 686 (2016); see, e.g, Hoke Deck, Ex. 23 at 1843.
21

22          Fourth, Dr. Benbrook may not offer an opinion as to whether the EPA would have

23   approved an amendment to the Roundup label. Dr. Benbrook has no specific expertise
24   pertaining to the EPA’s approval of amended labels. See Hoke Deck, Ex. 23 at 161.
25
            Fifth, while Dr. Benbrook might have experience regarding industry standards and
26
     stewardship obligations, at argument Johnson agreed these were irrelevant.
27



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 1            Sixth, Dr. Benbrook may not testify Monsanto misled the EPA. He brings no relevant
 2
     expertise to the table on that issue.
 3
                                          ii.       Dr. Sawyer
 4
              The only opinion specifically identified in the moving papers is Dr. Sawyer’s opinion that
 5
 6   the EPA applied a unique approach for glyphosate only, that was inconsistent with established

 7   methodology, guidelines, and procedures. Edwards Deck, Ec. 56 at 96-97; see also Motion, 40

 8   (stating, without citation, that much of Dr. Sawyer’s report copies texts from Monsanto’s emails
 9
     and offers personal opinions about those emails). As to the opinion identified in the moving
10
     papers. Dr. Sawyer’s CV does not demonstrate an expertise in EPA regulations. See Hoke Deck,
11
     Ex. 7 at Appendix B. Dr. Sawyer is precluded from offering the opinion that the EPA departed
12
     from its regulations.
13
14            As to Dr. Sawyer’s specific opinions with respect to the impact of non-compliance with

15   the ethical obligations owed by toxicologists, Monsanto has not demonstrated that Dr. Sawyer
16   disclaimed any such opinions. See Edwards Deck, Ex. 30 at 46:14-18 (Dr. Sawyer testified that
17
     he is neither an “ethicist” nor an expert on “corporate ethics”). Nor has Monsanto supplied a
18
     record sufficient to identify the opinions it challenges. While on the bases presented I do not
19
     exclude Dr. Sawyer’s opinions concerning non-compliance with ethical obligations owed by
20

21   toxicologists, these may be irrelevant for the same reasons Johnson agreed that Dr. Benbrook’s

22   opinions on industry standards and stewardship obligations are irrelevant.32

23                               d.        Damages
24
              Monsanto seeks an order prohibiting James Mills from testifying with an opinion about
25
     either (1) Johnson’s future loss of income or (2) punitive damages based on the income of
26
     Monsanto’s CEO.
27
     32 The relevancy issue is reserved for the trial judge.

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 1                                  i.     Loss of Income
 2
            Mills calculated Johnson’s lost income on an annual basis from the year 2016 through the
 3
     end of his life expectancy, less two years, rather than cutting off damages at an earlier retirement
 4
     age such as 67, in response to a request from counsel. Hoke Decl., Ex. 24; Edwards Deck, Ex.
 5
 6   66 at 41:14-43:13.

 7          Monsanto argues that Mills’ opinion should be excluded because he based his opinions

 8   on counsel’s request to assume that Johnson would work until 75 and did not conduct his own
 9   analysis of when Johnson was likely to stop working.
10
            First, Monsanto has not offered any basis to exclude Mills’ opinion that Johnson suffered
11
     $52,878 per year in damages for each year that he would have continued his employment as a
12
     pest manager at the Benicia Unified School District.
13
14          Second, Monsanto’s argument that Mills should be barred from adding up the lost income

15   to present a total lost income figure that includes wages through the year 2046 presents nothing

16   more than the issue of whether there is other evidence to support that cut-off date. If (and only
17
     if) Johnson introduce evidence (or the trial judge is satisfied by an offer of proof) that he would
18
     have continued in his present employment until 2046, then Mills may use that as a predicate for
19
     his opinion.
20
                                    ii.    Punitive Damages
21

22          At issue is the compensation paid to Monsanto’s chairman and CEO, Hugh Grant. This,

23   says, Mills, is relevant to the financial condition of the company. Edwards Deck, Ex. 66 at
24   78:11-18; Hoke Deck, Ex. 82. Monsanto seeks to preclude Mills from citing Grant’s
25
     compensation in support of an opinion on punitive damages. Monsanto does not now move to
26
     exclude Mills’ entire punitive damages opinion. Reply, 23.
27



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 1          Monsanto does not dispute that the figure is relevant to Monsanto’s financial capacity.
 2
     But on reply Monsanto argues that the testimony will be unduly prejudicial. Reply, 23. The
 3
     argument was not raised in the moving papers and is not treated here; as with other Evidence
 4
     Code § 352 issues, it is reserved for the trial judge. This order does not exclude the evidence.
 5

 6          3.      Johnson’s Motion

 7                          a.      General Causation

 8          Johnson seeks an order excluding the opinions of epidemiologists Drs. Lorelei Mucci and
 9   Jennifer Rider. Hoke Deck, Exs. C at 1-2, D at 3-5.
10
            In short. Dr. Rider discussed the epidemiological studies regarding glyphosate and
11
     concluded that “there is insufficient epidemiologic evidence to make a scientific conclusion that
12
     glyphosate-based herbicides are a cause of NHL” or that “the epidemiologic evidence does not
13
14   provide a basis sufficient to opine that glyphosate-based herbicides are causally related to NHL.”

15   See id.. Ex. C at 3-4,21-45,47. Dr. Rider opines it is inappropriate to apply the Bradford Hill

16   criteria to synthesize study results to evaluate whether a causal relationship exists between
17
     glyphosate and NHL. The reason for this opinion is that underlying studies may have been
18
     subject to confounding or systematic bias. Id., Ex. C. at 43-44.
19
            Similarly, Dr. Mucci discussed the epidemiology of NHL, discussed epidemiological
20
     studies regarding glyphosate, and concluded, “to a reasonable degree of scientific certainty, that
21
22   the epidemiological evidence does not provide a scientific basis to support a causal relationship

23   between exposure to glyphosate-based herbicides and the risk of NHL.” See id.. Ex. D at 5-8,
24   29-60, 72. Dr. Mucci mentions the Bradford Hill criteria, but does not apply them. See id.. Ex.
25
     D at 26.
26

27



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 1             Johnson appears to suggest that these two witnesses cannot offer these opinions because
 2
      they did not do a Bradford Hill analysis to evaluate biological plausibility, by which Johnson
 3
      means they did not consider the totality of the evidence - e.g., animal and mechanistic data -
 4
      before offering their opinions. Motion, 5-8. Johnson appears to be arguing that Drs. Mucci and
 5
 6    Rider cannot offer an ultimate opinion on the question of whether glyphosate-based herbicides

 7    cause NHL without considering the Bradford Hill criteria, including non-epidemiological

 8    evidence. Reply, 9:17-18 (must consider Bradford Hill criteria before “making any conclusions
 9    about causality”).
                                                                                                                              r
10
               Drs. Mucci’s and Rider’s opinions bear on the conclusion that the epidemiological
11
      evidence does not by provide a sufficient basis to conclude that glyphosate-based herbicides
12
      cause NHL, stopping short of offering an opinion on the distinct issue whether glyphosate-based
13
14    herbicides cause NHL. Hoke Decl., Exs. C at 47, D at 6,72. Dr. Rider does, in one instance,

15    state her conclusion in a way that is amenable to the interpretation that the epidemiological

16    evidence precludes the conclusion that there is a causal relationship, id.. Ex. C at 4. But this
17.
      does not appear to be Dr. Rider’s proffered opinion.33
18
               The motion is denied.
19
                                 b.       Specific Causation; Mitigation
20
                                          i.       Alternative Causes of Mycosis Fungoides
21
22             Dr. Kuzel stated that alcohol and sunlight were the only two environmental factors to

23    which Johnson was exposed with a positive association with mycosis fungoides. Hoke Decl.,
24    Ex. A at 5-6. Johnson argues that it is improper for Dr. Kuzel to reference possible alternative
25
      causes of mycosis fungoides unless he holds the opinion, to a reasonable degree of medical
26

27    33 In reply, Johnson criticizes Dr. Mucci’s meta-analysis for the first time. Reply, 10, I ignore this argument, made
      in passing, because it was not raised in the moving papers.

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 1   probability, that these alternative causes actually contributed to or increased Johnson’s chance of
 2
     contracting mycosis fungoides. Motion, 3. Monsanto responds that pointing to alternative
 3
     causes for which there is stronger evidence of an association will undermine the credibility of
4
     Johnson’s evidence of causation. Opposition, 2.
 5
 6          Johnson does not dispute that Dr. Kuzel’s opinions are based on matter on which he may

 7   rely and within the area of his expertise. Motion, 3. Rather, Johnson argues that the inferences
 8   that a jury may draw from these facts - i.e., that the other factors were more likely to cause
 9   Johnson to contract NHL than glyphosate-based herbicides - are speculative. Id. Johnson
10
     invokes Cooper v. Takeda Pharmaceuticals America, Inc., 239 Cal.App.4th 555, 586 (2015).
11
     The court there concluded that “it was entirely speculative for Takeda to assert that other known
12
     risk factors could have played a role where it presented no substantial evidence to support such
13
14   notions.” Id. at 586.

15          This case is not Cooper. Here, Johnson is objecting to a foundational piece of evidence
16   because it could in conjunction with other evidence support an argument that other factors could
17
     have contributed to Johnson’s contraction of mycosis fungoides. Hoke Deck, Ex. A at 5-6
18
     (stating that alcohol and sunlight exposure have a positive association with mycosis fungoides).
19
     Dr. Kuzel may offer his opinion.
20
21                                  u.     Latency

22          Dr. Kuzel opined that the latency period between Johnson’s first exposure to glyphosate-

23   based herbicides and the appearance of skin abnormalities ultimately recognized as a symptom
24   of mycosis fungoides was too brief for the glyphosate-based herbicides to have caused Johnson’s
25
     mycosis fungoides. Hoke Deck, Ex. A at 6. Dr. Kuzel based his opinion on the fact that “the
26
     most likely timeframe for the relevant exposure would be many years or even decades prior to its
27



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 1   clinical manifestation.” Id. Dr. Kuzel also explained that a 1 cm. mass contains about one
 2
     billion cells, and that it would likely take multiple years to go from single cells to hundreds of
 3
     millions. Id. At deposition, Dr. Kuzel testified that he has “no comment about latency period in
 4
     specifics of glyphosate and non-Hodgkin’s lymphoma. I have specifics about latency in
 5
 6   general,” explaining that this was because “there is no link to glyphosate in non-Hodgkin’s

 7   lymphoma so there is no way to calculate what the latency period would be” so it is “hard to

 8   speculate on latency periods. But latency periods for carcinogens are in general long, years.”
 9   Id., Ex. B at 105:18-24,139:21-140:20. Dr. Kuzel did state that he would not consider it
10
     possible that glyphosate caused mycosis fungoides unless, in the absence of a fairly prolonged
11
     exposure, the exposure had been five to ten years prior. Edwards Deck, Ex. 15 at 145:2-13.
12
            Johnson argues that Dr. Kuzel’s latency opinions should be excluded because he did not
13
14   employ any methodology to reach them. Motion, 3-4. In opposition, Monsanto focuses on
                                                                                                             i

15   testimony from Johnson’s experts that it views as consistent with Dr. Kuzel’s latency opinions

16   and his discussion of the amount of time it takes for tumors to grow. Opposition, 3-4.
17
            Dr. Kuzel’s deposition testimony reveals that his opinion on latency periods relating to
18
     Johnson’s specific mycosis fungoides is speculative, and it is excluded on that basis. Dr. Kuzel
19
     himself states that it is “hard to speculate on latency periods” and offers nothing to support his
20
     opinion except generalities about cell reproduction. Sargon, 55 Cal.4th at 771. But Dr. Kuzel
21

22   does have sufficient expertise to discuss latency generally.

23                                  iii.    Noncompliance with Treatment Recommendations
24          Dr. Kuzel opines that Johnson’s condition “may have been exacerbated by his
25
     inconsistent compliance with and refusal of some treatments.” Hoke Deck, Ex. A at 5. At
26
     deposition. Dr. Kuzel testified that it is impossible for him to know whether Johnson’s condition
27



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 1   was exacerbated because he cannot observe what would have happened if Johnson had received
 2
     the treatments he missed. Id., Ex. B at 159:9-161:16. Dr. Kuzel also testified that a question
 3
     about one specific missed treatment would be better directed to the treating physician. Id., Ex. B
 4
     at 160:22-161:12.
 5
 6          As Monsanto aptly describes Johnson’s motion, “Because Dr. Kuzel could not say for

 7   sure whether noncompliance hurt Plaintiff, Plaintiff now moves to prevent him from saying that

 8   it may have.” Opposition, 4-5.
 9          The argument here is similar to Johnson’s implicit position as to Dr. Kuzel’s opinion as
10
     to other factors associated with mycosis fungoides. As was the case there, the motion to exclude
11
     Dr. Kuzel’s opinion is denied. Dr. Kuzel’s opinion is based on subject matter within his
12
     expertise.
13
14                         c.      Benefits of Glyphosate

15          Johnson seeks an order excluding the opinion of Dr. Kassim AI-Khatib. Proposed Order,

16   1. Johnson’s motion is based solely on relevance and duplicative of a motion in limine. Motion,
17
     8; Opposition, 7-8. The pertinent motion in limine was denied. See April 3,2018 Order, 3. In
18
     Johnson’s reply brief, which followed denial of the motion in limine, Johnson made no mention
19
     of Dr. Al-Khatib’s opinion. Reply, 10 (requesting only exclusion of opinions of Drs. Kuzel,
20
     Mucci, and Rider). For the reasons alluded to in my order denying the motion in limine, some
21
22   portions of Dr. Al-Khatib’s opinion may be relevant. April 3,2018 Order, 3:10-15. Whether or

23   not the request has been abandoned, the motion to exclude Dr. Al-Khatib’s opinion as irrelevant
24   is denied.
25
26

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 1   III.    Motions for Summary Judgment or Summary Adjudication
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             Monsanto moves for summary judgment on the basis of its motion to exclude Johnson’s
 3
     medical causation experts: if the experts are excluded, Johnson will be left without evidence to
 4
     satisfy his burden of proving medical causation. Monsanto Motion, 6.
 5
 6           Monsanto also moves for summary judgment on the ground that all of Johnson’s claims

 7   are preempted by federal law. Third, Monsanto moves for summary adjudication of Johnson’s

 8   claim for punitive damages on the ground that Johnson cannot present any evidence to satisfy his
 9   burden of proof.
10
             Johnson moves for summary adjudication of Monsanto’s sixth and seventh affirmative
11
     defenses, which address preemption based on the Federal Insecticide, Fungicide, and
12
     Rodenticide Act (FIFRA) and continuing EPA approval, respectively.
13
14           a.       Causation

15           Monsanto’s motion for summary judgment based on causation turns on the admissibility

16   of Johnson’s experts. As discussed above, most of the opinions of Johnson’s causation experts
17
     are admissible. These suffice as evidence of both general and specific causation. The motion for
18
     summary judgment on the basis of causation is denied.
19
             b.       Preemption
20
                      1.      Express Preemption of Failure to Warn Claims34
21
22           Under FIFRA, a “State may regulate the sale or use of any federally registered pesticide

23   or device in the State, but only if and to the extent the regulation does not permit any sale or use
24   prohibited by this subchapter.... Such State shall not impose or continue in effect any
25
     requirements for labeling or packaging in addition to or different from those required under this
26
     subchapter.” 7 U.S.C. § 136v(a)-(b).
27
     34 In reply, Monsanto seems to abandon this express preemption argument.


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 1          State law is preempted by FIFRA if (1) the state law must be a requirement “for labeling
2
     or packaging,” rules governing the design of a product are not preempted; and (2) the state law
 3
     must impose a labeling or packaging requirement that is “in addition to or different from those
4
     required under this subchapter.” Bates v. Dow Agrosciences LLC, 544 U.S. 431,444 (2005);
 5
 6   Mirzaie v. Monsanto Co., 2016 WL 146421, at *2 (C.D. Cal. Jan. 12,2016) (holding that suit

 7   seeking injunction to require Monsanto to change its Roundup label was preempted). A state-

 8   law labeling requirement is not preempted if it equivalent to, and fully consistent with, FIFRA’s
 9   misbranding provisions. Bates, 544 U.S. at 447; Hardeman v. Monsanto Co., 216 F.Supp.3d
10
     1037,1038 (N.D. Cal. 2016).
11
            Monsanto argues that 7 U.S.C. § 136v preempts any claim on the basis that Monsanto
12
     improperly failed to include a cancer warning on its label. Motion, 11. To reach that conclusion,
13

14   Monsanto contends: (1) The EPA approved Monsanto’s label without a cancer warning; (2)

15   After the EPA approved Monsanto’s label, Monsanto was required to use the EPA-approved

16   label; and (3) A state law that requires a cancer warning on Monsanto’s label would, in this
17
     context, impose a requirement that is in addition to or different from the requirements imposed
18
     by FIFRA. Id. at 10-12.
19
            Under FIFRA, a pesticide is misbranded if “the label does not contain a warning or
20
     caution statement which may be necessary and if complied with, together with any requirements
21

22   imposed under section 136a(d) of this title, is adequate to protect health and the environment[.]”

23   7 U.S.C. § 136(q)(l)(G). California law requires a manufacturer to warn either of any risk that is
24   known or knowable (in strict liability), or at least those risks that a reasonably prudent
25
     manufacturer would have known or warned about (in negligence). Conte v. Wyeth, Inc., 168
26
     Cal.App.4th 89,101-02(2008). California law is no broader than FIFRA. Hardeman, 2\6
27



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 1   F.Supp.3d at 1038. Indeed, Monsanto offers nothing to rebut the argument that a carcinogenic
2
     pesticide is subject to a misbranding under FIFRA if it is sold without labeling that alerts users to
 3
     its carcinogenic properties.
4
             Substantively, Monsanto’s express preemption argument depends on the premise that
 5

 6   Monsanto is immune from FIFRA liability so long as it uses a label that has been approved by

7    the EPA or is otherwise consistent with the EPA’s factual findings. That’s not true. Bates, 544

 8   U.S. at 434-35,448,451-53 (in an action where the pesticide had been approved by the EPA,
 9   state law claims would be allowed to go forward if it was determined, on remand, that the state
10
     law at issue was parallel to FIFRA); Hardeman, 216 F.Supp.3d at 1038-39; 7 U.S.C. §
11
     136a(f)(2); Carias v. Monsanto Co., 2016 WL 6803780, at *2-*7 (E.D.N.Y. Sept. 30,2016);
12
     Hernandez v. Monsanto Co., 2016 WL 6822311, at *8 (C.D. Cal. July 12,2016) (“if the EPA’s
13
14   registration decision is not preemptive, it follows that the factual findings on which it relied in

15   making that decision are also not preemptive”).

16                  2.      Conflict Preemption of Failure to Warn Claims
17
             Monsanto argues that Wyeth v. Levine, 555 U.S. 555 (2009) and its progeny give rise to
18
     the rule that wamings-based claims are impliedly preempted when the evidence shows that the
19
     federal regulatory agency considered the safety risk at issue in the lawsuit but nevertheless
20
     rejected concerns about the risk. Motion, 7. See Cerveny v. Aventis, Inc., 855 F.3d 1091,1105
21

22   (10th Cir. 2017) (where, in rejecting citizen petition, FDA analyzed claims and data virtually

23   identical to that submitted by plaintiffs, FDA’s denial constituted clear evidence that the FDA
24   would not have approved the plaintiffs’ desired warning). Wyeth and its progeny do not apply.
25
     here.
26

27



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 1           Wyeth noted that the FDCA did not have any express preemption provision applicable to
2
     prescription drugs, but it did have a savings clause indicating that a provision of state law would
 3
     only be invalidated upon a direct and positive conflict with the FDCA. Id. at 567. Accordingly,
 4
     Wyeth conducted a conflict preemption analysis. See id. at 568-73. Conflict preemption
 5

 6   involves a two-step process of ascertaining the construction of the federal and state laws and then

 1   determining if they are in conflict. Chicago & North Western Transp. Co. v. Kalo Brick & Tile

 8   Co., 450 U.S. 311, 317 (1981). In Wyeth, the Court rejected Wyeth’s argument that it was
 9   impossible to comply with both a state law that would have required Wyeth to strengthen its
10
     label and FDA regulations regarding updating prescription drug labeling in the absence of clear
11
     evidence that the FDA would not have approved the modified label pursuant to regulatory
12
     channels available to Wyeth. Wyeth, 555 U.S. at 568-73; see also, e.g., Cerveny v. Aventis, Inc.,
13
14   855 F.3d 1091,1105 (10th Cir. 2017) (FDA’s denial of citizen petition raising same issues posed

15   by plaintiffs constituted clear evidence under Wyeth).

16           A fundamental premise of Wyeth and its progeny is that the state cannot outlaw the sale
17
     of a prescription drug that has been approved by the FDA. Put differently, the fact that a
18
     prescription drug manufacturer could avoid liability under both state law and federal law by
19
     refraining from selling the product within a state is irrelevant to FDCA preemption. See, e.g,
20
     Mutual Pharmaceutical Co., Inc. v. Bartlett, 570 U.S. 472,488 (2013) (Bartlett).
21
22           Under FIFRA, on the other hand. Congress has spoken.35 FIFRA contains an express

23   preemption provision and it is limited to requirements “for labeling or packaging” that are “in
24   addition to or different from those required under [FIFRA].” Bates, 544 U.S. at 444; 7 U.S.C. §
25

26   35 Monsanto suggests that FIFRA’s express preemption provision and case law interpreting its impact should be
     ignored in evaluating conflict preemption because express provision does not necessarily mean that conflict
27   preemption is inapplicable. Reply, 6. But “the purpose of Congress is the ultimate touchstone in every pre-emption
     case,” Wyeth, 555 U.S. at 565. The express preemption provision is relevant to Congressional intent.


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 1   136v(b). For example, the state is expressly permitted to ban a pesticide that is approved by the
2
     EPA. Bates, 544 U.S. at 446; 7 U.S.C. § 136v(a). Under the express terms of the statute, EPA
 3
     approval of a pesticide is not a defense for the commission of any offense under FIFRA, it is just
4
     prima facie evidence that the pesticide and its labeling and packaging are compliant with FIFRA
 5

6    and, accordingly, any state law that imposes labeling requirements consistent with FIFRA is not

7    preempted. Carias, 2016 WL 6803780, at *4-*6 (persuasively relying on statute to conclude that
                                                                                                'is
 8   EPA approval does not preempt failure to warn claim); 7 U.S.C. § 136a(f)(2).
 9           It does not appear that any court has extended the Wyeth line of cases to FIFRA.
10
     Hardeman, 216 F.Supp.3d at 1038 (noting that EPA’s approval of Roundup’s label would
11
     preempt conflicting state law if it had the force of law under Wyeth, but finding no indication that
12
     EPA’s approval of Roundup’s label had the force of law); Hernandez, 2016 WL 6822311, at *6-
13

14   *7; see also Ansagay v. Dow Agrosciences LLC, 153 F.Supp.3d 1270,1283-85 (D. Haw. 2015);

15   Sheppard v. Monsanto Co., 2016 WL 362074, at *6-*9 (D. Haw. June 29,2016).

16                    3.       Preemption of Design Defect Claims
17
             Monsanto argues that Johnson’s design defect theories are premised on the assertion that
18
     glyphosate is defective. Motion, 14. As a result, Monsanto contends that Johnson’s design
19
     defect theories would preclude Monsanto from ever selling glyphosate-based products.
20
     Monsanto asserts that such a theory is preempted because it would conflict with EPA’s approval
21

22   of Monsanto’s glyphosate-based products. Johnson argues that Monsanto’s preemption

23
24
     36 Monsanto seeks to evade this interpretation of 7 U.S.C. § 136a(f)(2) by citation to Reckitt Benckiser, Inc. v.
25   Jackson, 762 F.Supp.2d 34,45 (D.D.C. 2011). Monsanto Opposition to Johnson’s Motion, 10. Reckitt held that 7
     U.S.C. § 136a(f)(2) does not authorize the EPA to bring an enforcement action against registered products without
26   complying with FIFRA’s provisions for canceling a registration. Reckitt, 762 F.Supp.2d at 41-42,45. A subsequent
     district court opinion persuasively rejected the assertion that Reckitt has any bearing on the import of 7 U.S.C. §
27   136a(f)(2), as it is relied upon for present purposes. Mendoza v. Monsanto Co., 2016 WL 3648966, at *4 n.3 (E.D.
     Cal. July 8, 2016).


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 1   arguments are based solely on FDCA authority that is inapplicable in the FIFRA context.
2
     Opposition, 21-22.
 3
            Monsanto’s conflict preemption argument as to the design defect claims fails for the
4
     same reason as its conflict preemption argument as to the failure to warn claims. Monsanto
 5
 6   relies on inapposite FDCA authority. See, e.g., Bartlett, 570 U.S. at 488. At the same time,

 7   Monsanto ignores FIFRA. But the touchstone of the preemption analysis is Congress’ intent in
 8   enacting FIFRA. Wyeth, 555 U.S. at 565. As detailed above. Congress explicitly permitted
 9   states to ban products even if they are federally registered. See Bates, 544 U.S. at 446; 7 U.S.C.
10
     § 136v(a). The United States Supreme Court has stated that the statute does not preempt design
11
     defect claims. Bates, 544 U.S. at 444. Monsanto cannot ignore Congressional intent by pressing
12
     a theory of conflict preemption. Reply, 6. Monsanto’s argument that Johnson’s design defect
13
14   claims may, if successful, force Monsanto to stop selling EPA-approved products in California

15   does not demonstrate a conflict between state and federal law. Rather, it describes a situation
16   that is expressly approved by federal law. Bates, 544 U.S. at 446; Ansagay, 153 F.Supp.3d at
17
     1279-85.
18
                    4.      Preemption of Claims Based on Misrepresentations to
19                          the EPA
20          Monsanto asserts that any argument that Monsanto made misrepresentations to the EPA
21
     are preempted under Buckman Co. v. Plaintiffs’ Legal Committee, 531 U.S. 341 (2001). Motion,
22
     14-15. Monsanto is not entitled to summary adjudication of Johnson’s “arguments.” C.C.P. §
23
     437c(f)(l). Monsanto’s contentions do not dispose of any cause of action. This aspect of
24
25   Monsanto’s motion is denied as procedurally improper.

26
27



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 1                  5.       Johnson’s Motion for Summary Adjudication of
 2                           Preemption Defenses

 3          Johnson’s motion for summary adjudication of the sixth and seventh affirmative defenses

 4   turns on the same preemption arguments raised by Monsanto’s preemption motion for summary
 5   judgment. Motion, 8-15 (FIFRA does not expressly or impliedly preempt Johnson’s claims as a
 6
     matter of law); Opposition, 2-15. The facts developed by the parties (e.g., Monsanto’s evidence
 7
     pertaining to the EPA’s approval of glyphosate-based products and finding to the effect that
 8
     glyphosate does not pose a carcinogenic risk to humans and the parties dispute as to whether the
 9

10   EPA would have approved a request to modify the labeling, if Monsanto had made such a

11   request) are immaterial to the reasoning above.

12          Johnson’s motions for summary adjudication of the sixth and seventh affirmative
13
     defenses are granted.
14
            c.      Punitive Damages
15
            Monsanto argues that summary adjudication of the punitive damages claim is appropriate
16
     because: (1) EPA determined that glyphosate is not carcinogenic; (2) Monsanto and its scientists
17

18   have long believed in good faith that glyphosate-based herbicides and glyphosate are safe and do

19   not cause cancer; (3) A recent study supports the conclusion that glyphosate is not carcinogenic;
20   and (4) A recent district court found in the preliminary injunction context, that it would be
21
     misleading to warn that Monsanto’s glyphosate-based herbicides cause cancer against the current
22
     scientific backdrop. Motion, 16-20.
23
            In opposition, Johnson contends that a punitive damages award may be based on
24

25   Johnson’s evidence that Monsanto: (1) Marketed and sold glyphosate-based herbicides without

26   warning consumers of the known risk of contracting NHL; (2) Did not conduct studies

27   recommended by the EPA and its own consultants to evaluate the risks of glyphosate-based



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 1   herbicides; (3) Did not evaluate the risks associated with the use of glyphosate in conjunction
2
     with surfactants; (4) Marketed products with a surfactant despite knowledge of safer alternatives;
 3
     (5) Withheld information from the EPA regarding dermal absorption and consultant
 4
     recommendations; and (6) ghostwrote articles to publish positive safety data. Opposition, 25.
 5
 6          In reply, Monsanto argues: (1) None of the conduct that Johnson identified implicates

 7   Monsanto, as opposed to its employees acting without authorization; (2) None of the conduct

 8   that Johnson identified was causally related to the injury he suffered; (3) The conduct Johnson
 9   identified was not sufficiently culpable to justify punitive damages; and (4) Johnson relies on
10
     assertions in his brief that lack citation to evidence. Reply, 7-10.
11
            Even if Monsanto has carried its initial burden, Johnson has carried his burden of
12
     producing evidence that a reasonable jury could find amounts to clear and convincing evidence
13
14   of malice, fraud, or oppression. Johnson & Johnson, 192 Cal.App.4th at 762 (setting forth

15   standard). Johnson’s theory of punitive damages is that Monsanto intentionally marketed a

16   defective product knowing that it might cause injury and death. Boeken v. Philip Morris Inc.,
17
     127 Cal.App.4th 1640,1690 (2005) (intentionally marketing a defective product knowing that it
18
     might cause injury and death is highly reprehensible).
19
            The internal correspondence noted by Johnson could support a jury finding that
20
21   Monsanto has long been aware of the risk that its glyphosate-based herbicides are carcinogenic,

22   and more dangerous than glyphosate in isolation, but has continuously sought to influence the

23   scientific literature to prevent its internal concerns from reaching the public sphere and to bolster
24   its defenses in products liability actions. Hoke Deck, Exs. 11-12 (introduced to show Monsanto
25
     employees reaction to an internal memorandum in 1999), Ex. 14 (introduced to show
26
     Monsanto’s internal belief that glyphosate may be dangerous in combination with surfactants as
27



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 1   of 2002), Ex. 19 (introduced to show the Monsanto’s employee believed it was inappropriate to
 2
     say that Roundup does not cause cancer because Monsanto had not done carcinogenicity studies
 3
     with Roundup as of 2009), Ex. 21 (introduced as evidence that Monsanto had a practice of
 4
     ghostwriting scientific literature about glyphosate in and around 2015), Ex. 22 (introduced as
 5
 6   evidence that Monsanto ghost wrote scientific literature about glyphosate as far back as 1999),

 7   Ex. 24 (introduced as evidence of Monsanto’s sponsorship of literature for the purpose of

 8   defending products liability claims regarding glyphosate in 2012), Ex. 25 (introduced to show
 9   that Monsanto calculated the benefits of securing certain experts to lend credibility to their
10
     sponsored studies in 2012).
11
            Thus there are triable issues of material fact and I must deny the motion.
12
13

14   Summary and Conclusion

15          (1) Monsanto’s Omnibus Sargon Motion: I exclude (A) Dr. Fortier’s pooling analysis

16   and any conclusions that depend on it; (B) Dr. Sawyer’s water permeability test and cancer
17
     slope opinions; (C) Dr. Benbrook’s testimony as listed above (6 topics); (D) Mills’ opinion as to
18
     Johnson’s total lost income assuming employment until two years before his life expectancy,
19
     unless and until evidence that Johnson would have worked until two years before his life
20
     expectancy is offered. Otherwise the motion is denied.
21

22          (2) Johnson’s Omnibus Sargon Motion: I exclude (A) Dr. Rider’s opinion that the

23   epidemiological evidence precludes the conclusion that there is a causal relationship between
24   glyphosate exposure and NHL (assuming she intends to express such an opinion); (B) Dr.
25
     Kuzel’s mycosis fungoides latency opinion, although Dr. Kuzel may opine generally as to
26
     latency for cancers. Otherwise, the motion is denied.
27



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 1         (3) Monsanto’s motions for summary judgment and adjudication: these are denied.
2
           (4) Johnson’s motion for summary adjudication: this is granted.
 3

4
     Dated: May L(k 2018
 5                                                     Curtis E.A. Kamow
 6                                                     Judge Of The Superior Court

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                        CERTIFICATE OF ELECTRONIC SERVICE
                             (CCP 1010.6(6) & CRC 2.260(g))

         I, DANIAL LEMIRE, a Deputy Clerk of the Superior Court of the County of San
Francisco, certify that I am not a party to the within action.
         On     MAY H 2018          ,1 electronically served THE ATTACHED DOCUMENT via
File & ServeXpress on the recipients designated on the Transaction Receipt located on the File &
ServeXpress website.

Dated:         MAY K 2018
                                            '. Michael Yuen, Clei
                                                                                          V
                                          BV
                                                      DANIAL LEMIRE, Deputy Clerk
